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IN THE UNITED STA'I`ES BANKRUPTCY COURT
SOUTHERN DISTR\CT OF GEORGIA

AUGUSTA DlVlSlON
)
lN RE: )
NAYNA PATEL AND ) Chaptcr 13 Proceeding
VINOD PATEL, ) Case No.: 16-11274-SDB
) Advcrsary Case No.: 16-01032
Debtors. )

AMENDED MOT[ON FOR PRELIMINARY APPROVAL OF U.S. SMALL BUSINESS
ADMINISTRATION OFFER-IN-COMPROMISE

 

NOW COME, NAYNA PATEL and VINOD PATEL, debtors in the above referenced
matter (“Debtors”), and tile this Motion for Preliminary Approval of an SBA Offer-in-
Compromise, and state as follows.

l. On or about October 13, 2006, Dhara & Vikas, LLC d/b/a Country Hearth lnn
(“DV”) entered into US Small Business Administration (“SBA”) Loan Agreement # GP
23756160-10 CHAR with Business Loan Center, LLC (the “SBA Loan”) which funded the
startup of a Hotel in Charlotte, NC (the “Hotel”). See Claim No. _4.

2. Debtor, Nayna Patel, was the managing member of DV, and the SBA and/or
Business Loan Center, LLC (“BLC”) required that both Nayna Patel and Vinod Patel sign
personal guarantees on the SBA Loan. See C|aim No. 4.

3. Upon information and belief, on December 3, 2012, BLC assigned the SBA Loan
to BLC Funding, LLC (“BLC Funding”). See C|aim No. 4.

4. Upon information and belief`, subsequently on December 3, 2012, BLC Funding
assigned the SBA Loan to U.S. NATIONAL BANK ASSOCIAT|ON, as successor trustee to
Bank of Amcrica, N.A., successor by merger to LaSalle Bank National Association, as Indenture

Trustee under certain Second Amended and Restated lndenture dated as of February 4, 2005, as

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the same may be amended from time to time, for the benefit of the SBA and holders of the BLX
Funding Trust I Notes, as their interests may appear subject to a Second Amended and Restated
Multi- Party Agreement dated February 4, 2005 (“U.S. National Bank”). See Claim No. 4.

5. Due to a poor economy, crime surrounding the area where the Hotel was located
and poor management by non-parties to this matter, the SBA Loan went into default.

6. Debtors attempted to work with U.S. National Bank on the defaulted SBA Loan
and ultimately entered into a short sale agreement of the real property where the Hotel was
located, and after the liquidation of the real estate collateral, there remained a large deficiency
balance left owing on the SBA Loan (the “Deficiency Balance”).

7. Upon information and belief, U.S. National Bank sued Debtors for the Deficiency
Balance in a state court in North Carolina and received ajudgment (the “NC Judgment”).

8. U.S. National Bank then domesticated the NC Judgment in Columbia County, GA
Superior Court (Civil Action No. 2016-CV-0130) and the Judgment was signed by the Court on
April 13, 2016 (the “Judgrnent”). See Claim No. 4.

9. On or about June 6, 2016, U.S. Bank National assigned the Judgment to BLC.

lO. On June 20, 2016, a Writ of Fieri Facias in favor of U.S. National Bank/BLC
(collectively hereinafter “Creditor”) was recorded at Book 10400 and page 148 in the Superior
Court of Columbia County (the “Judgment Lien”).

ll. On or about July 26, 2016, Debtors received a letter concerning the “SBA Offer-
in-Compromise Process” from Creditor.

12. On September 15, 2016, Debtors filed for Chapter 13 bankruptcy protection.

 

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13. On September 20, 2016, Debtors filed Adversary Proceeding #l6-01032-SDB in
this Court seeking to avoid Creditor’s Judgment Lien pursuant to ll U.S.C. § 547 (the
“Aclversary Proceeding”).

14. On October l4, 2016, Debtors submitted an Offer-In-Compromise to the SBA
(the “Proposed Offer-in-Compromise”) offering the following in exchange for a full release from
the Creditor:

a. Debtors would pay Creditor $30,000 in cash; and

b. Debtors would sell their 2007 Lexus EX 350 and 2007 Toyota Tundra and remit
all of the net proceeds to the SBA or, alternatively, should the SBA and/or
Creditor prefer, Debtors would transfer title to the 2007 Lexus Ex 350 and 2007
Toyota Tundra to the Creditor.

15. Debtors have received word that the SBA will not approve the Proposed Offer-in-
Compromise to Creditor until it was first approved by the Bankruptcy Court and, therefore, the
SBA requires “preliminary” approval of the Offer-in-Compromise.

16. Debtors are therefore seeking preliminary approval of the Offer-in-Compromise
from this Court, and then would send this Court’s Order preliminarily approving the Offer-in-
Compromise to the SBA pursuant to the SBA’s request as a prerequisite before it will consider
the Offer-in-Compromise.

l7. If the SBA approves of the Proposed Offer-in-Compromise after this Court’s
preliminary approval of same, Debtors will then move for final approval of the Offer-in-
Comprise.

18. Debtors further would show that aside from the Creditor’s claim the status of

which remains at issue in the Adversary Proceeding, the balance of the unsecured claims total

 

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only $761.85 (the “Other Unsecured Claims”) and both the governmental and non-governmental
bar dates have passed. See Claim 3 in the amount of $351.90, Claim 5 in the amount of $259.54
and Claim 6 in the amount of $150.41 for a total of $761 .85.

19. Debtors have paid a total of approximately $1,046.17 into their Chapter 13 case
thus far and continue to pay $200.00/m0nth. This should allow Debtors to pay the Other
Unsecured Claims in full and, therefore, Debtors will be able to pay a 100% dividend to
unsecured creditors.

20. Debtors believe that the Proposed Offer-in-Compromise is fair and reasonable,
and based on what has been represented to the Debtors by a representative of the SBA, Debtors
feel that the SBA is likely to agree to the Proposed Offer-in-Compromise once the Court
provides an order granting preliminary approval.

21. Debtors further believe the Proposed Offer-in-Compromise is in the best interest
of the Debtors and of the Debtors’ estate.

22. Should the SBA accept the Proposed Offer-in-Compromise, Debtors would
dismiss Adversary Proceeding #16-01032-SDB filed against Creditor With prejudice.

WHEREFORE, the undersigned respectfully prays as follows:

(a) That this Court issue an order preliminary approving the Proposed Offer-in-
Comprise; and

(b) 'I`hat such other and further relief as the Court deems necessary and propcr.
rhis 17"‘ day of March, 2017.

/S/ Charles W. Wills
Charles W. Wills
Attomey for Debtor
Georgia Bar No.: 254329

KLOSINSKI OVERSTREE'I`, LLP
1229 Augusta West Parkway
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CERTIFICATE OF SERVICE
This is to certify that I have this day served a copy of the within and foregoing
“AMENDED MO'I`lON FOR PRELIMINARY APPROVAL OF U.S. SMALL BUSINESS
ADMINlSTRATION OFFER-IN-COMPROMISE” upon all parties listed below either
electronically or by placing a copy of the same in the United States Mail, postage prepaid and
properly addressed as follows:
Huon Le
Chapter 13 Trustee
|VIA ECF]
Nathan Huff
Attorney for Business Loan Center, LLC
[VIA ECF]
SEE MAILING MATRIX ATTACHED AS EXHIBIT “A”

This 17“' day ofMarch, 2017.

/s/ Charles W. Wills
Charles W. Wills

KLOS|NSKI OVERSTREET, LLP
l229 Augusta West Parkway
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706-863-2255

 

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Southern Dist:ict of Georgia
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Charles W. Wil s

Klosinski 0verstreet LLP
1229 Augusta West Parkway
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The preferred mailing address {p] above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice cf Address filed pursuant to ll U.S.C. 342(£] and Fed.R.Bank.P. 2002 lq) l4).

Bank of America DISCOVER FINANCIAL SERVICES
PO Box 982235 20 BOX 15316
El Paso TX 19998-2235 Wilmington DE 19850

The following recipients may lie/have been bypassed for notice due to an undelivera.ble lu) or duplicate (d) address.

ld)Alma Exchanqe Bank and Trust lu}Business Loan Center, LLC as successor in End of Label Matrix
P.O. Box 1988 Mailable recipients 30
Alma, GA 31510-0988 Bypassed recipients 2

Total 32

